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                                                   UNITED STATES DISTRICT COURT
                                                                                          DISTRICT OF HA WAIi

                                                                                                                           THIRD AMENDED
                      United States of America
                                                                                                                           EXHIBIT LIST
                                         V.
                          Anthony T. WiJJiams                                                                             Case Number: 1?-00101 LEK

 PRESIDING JUDGE                                                     PLAINTIFF'S ATTORNEY                                       DEFENDANT'S ATIORNEY
 Leslie E. Kobayashi                                           0     Kenneth Sorenson.Gregg Yates                               Pro Se, LR Isaacson Standby
 TRIAL DATE (S)                                                      COURT REPORTER                                             COURTROOM DEPUTY
2/3/2020
  PLF.      DEF.         DATE
                                        MARKED ADMITTED                                                     DESCRIPTION OF EXHIBITS• AND WITNESSES
  NO.       NO.        OFFERED

           2001                                                      Mail Wire -Hep Guinn - From Government Disc I

           2002                                                      Report of Investigation (ROI)- 6-3-15 from Government Disc I

           2003                                                      Anabel Cabebe 00 Report of I nvestigation from Government Disc i

           2004                                                      Henry Malinay 01 Report of Investigation from Government Disc 1

           2005                                                      Henry Malinay- Maui Clients - emails 9/27/13 and 9/28/13 from Govt Disc 1

           2006                                                      Barbara Williams ROI 7-12-16 from Govt Disc 1

           2007                                                      Barbara Williams MEI-CLOA Documents 02_mail_wire -00 Anthony Williams from Govt Disc 1

           2008                                                      Barbara Williams Certified Mail email, Kalena here w/ questions, CLOA letterhead email from Disc 1

           2009                                                      ROI- Julita Asuncion - from Govt DiscoveryDisc 1

           2010                                                       ROI - Virginia Trinidad - from Govt Discovery Disc 1

           2011                                                      ROI - Willie Ramelb-

           2012                                                      ROI - Mariethez Madamba

           2013                                                     ROI - Melvyn Ventura

           2014                                                     ROI • Evelyn & Arnold Subia

           2015                                                      Loreen Troxel - ROI - 12-3-2015

           2016                                                      ROI -Asuncion - ROI • 12-1-2015

           2017                                                     ROI Asuncion 2-16-16

           2018                                                     ROI· Hep Guinn ·· 6-3-15

           2019                                                      ROI • Merlina Tabuyo

           2020                                                      Megan Crawley- SA FBI Application for Search Warrant from Discovery Disc 2

           2021                                                      1 B004-Legal documents redacted.pd! p.4-6,47-53 from DiscoveryDisc 3, CD1 of 2

           2022                                                      1801 ◊-Anabel Cabebe Realtor redacted.pd! p. 1, 19·22, 44-48, 63-68, 70-74, 86-89, 129-130
                                                    . .                                                         .  '

• Include a 11ow11on a, to the loca11011 of any exl11b1t not held wtth the case file or not available because of s12e .
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Case 1:17-cr-00101-LEK Document 899 Filed 02/18/20 Page 8 of 8   PageID #: 7690
